      Case 2:23-cv-02224-MSN-atc        Document 220       Filed 10/21/24     Page 1 of 5
                                        PageID 1846



                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TENNESSEE
                                  WESTERN DIVISION


 ROW VAUGHN WELLS, INDIVIDUALLY                    )
 AND AS ADMINISTRATRIX OF THE                      )
 ESTATE OF TYRE DEANDRE NICHOLS,                   )
 DECEASED,                                         )
                                                   )
         Plaintiffs,                               )
                                                   )
 v.                                                )    CASE NO. 2:23-CV-02224
                                                   )    JURY DEMAND
 THE CITY OF MEMPHIS, A                            )
 MUNICIPALITY; CHIEF CERELYN DAVIS,                )
 IN HER OFFICIAL CAPACITY; EMMITT                  )
 MARTIN III, IN HIS INDIVIDUAL                     )
 CAPACITY; DEMETRIUS HALEY, IN HIS                 )
 INDIVIDUAL CAPACITY; JUSTIN SMITH,                )
 IN HIS INDIVIDUAL CAPACITY;                       )
 DESMOND MILLS, JR. IN HIS INDIVIDUAL              )
 CAPACITY; TADARRIUS BEAN, IN HIS                  )
 INDIVIDUAL CAPACITY; PRESTON                      )
 HEMPHILL, IN HIS INDIVIDUAL                       )
 CAPACITY; ROBERT LONG, IN HIS                     )
 INDIVIDUAL CAPACITY; JAMICHAEL                    )
 SANDRIDGE, IN HIS INDIVIDUAL                      )
 CAPACITY; MICHELLE WHITAKER, IN                   )
 HER INDIVIDUAL CAPACITY; DEWAYNE                  )
 SMITH, IN HIS INDIVIDUAL CAPACITY                 )
 AND AS AGENT OF THE CITY OF                       )
 MEMPHIS,
                                                   )
         Defendants.                               )


   JOINT MOTION TO STAY DEFENDANT CITY OF MEMPHIS’S MOTION TO
       COMPEL AND/OR CERTIFY PLAINTIFF’S RESPONSES TO CITY’S
FIRST SET OF INTERROGATORY REQUESTS AND FIRST SET OF REQUESTS FOR
                    PRODUCTION OF DOCUMENTS


        Defendant the City of Memphis (the “City”) and Plaintiff RowVaughn Wells (collectively,

the “Parties”), by and through undersigned counsel, hereby move this Court to stay the City’s


                                               1
    Case 2:23-cv-02224-MSN-atc            Document 220        Filed 10/21/24      Page 2 of 5
                                          PageID 1847



Motion to Compel and/or Certify Plaintiff’s Responses to City’s First Set of Interrogatory Requests

and First Set of Requests for Production of Documents (“Motion to Compel”). (ECF No. 217.) In

support of this Motion, the Parties state as follows:

       1.      The City filed its Motion to Compel and Memorandum in Support on October 9,

2024. (ECF No. 217 and 217-1.)

       2.      On October 10, 2024, Plaintiff communicated to the City via email that Plaintiff

believes that many, if not all, issues raised in the Motion to Compel likely can be resolved by the

Parties without Court intervention.

       3.      On October 14, 2024, Plaintiff and the City engaged in a meet and confer and,

among other topics, discussed the pending Motion to Compel and possible resolution short of

Court intervention. The Parties agreed that the Motion to Compel should be stayed pending

additional conversations between the Parties.

       4.      Thereafter, the Parties scheduled two additional meet and confers for October 18,

2024 and October 28, 2024.

       5.      The Motion to Compel does not require additional motion practice or court

intervention at this time.

       6.      The Parties will work expeditiously to resolve the issues raised in the City’s Motion

to Compel. Upon reaching resolution of all issues or impasse, the Parties will notify the Court.

       7.      Based on the foregoing, Defendant the City of Memphis and Plaintiff respectfully

request that this Court grant this motion to stay the City’s Motion to Compel and/or Certify

Plaintiff’s Responses to City’s First Set of Interrogatory Requests and First Set of Requests for

Production of Documents.




                                                  2
    Case 2:23-cv-02224-MSN-atc         Document 220       Filed 10/21/24        Page 3 of 5
                                       PageID 1848



Dated: October 21, 2024
                                                      Respectfully submitted,



 ROMANUCCI & BLANDIN, LLC                             BAKER, DONELSON, BEARMAN,
                                                      CALDWELL & BERKOWITZ, P.C.

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                                              3
   Case 2:23-cv-02224-MSN-atc          Document 220   Filed 10/21/24   Page 4 of 5
                                       PageID 1849



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Attorneys for Plaintiff, RowVaughn Wells,
individually and as Administratrix Ad Litem of the
Estate of Tyre Deandre Nichols, deceased




                                              4
    Case 2:23-cv-02224-MSN-atc            Document 220        Filed 10/21/24      Page 5 of 5
                                          PageID 1850



                            CERTIFICATE OF CONSULTATION

       Pursuant to Local Rule 7.2(a)(1)(B), the undersigned hereby certifies that on October 14

and October 16, 2024, counsel for the Plaintiff consulted with counsel for the City via

videoconference and email, respectively. Counsel for the City and Counsel for Plaintiff have

agreed on the relief requested in this motion.

                                                      s/ Sarah M. Raisch
                                                      Sarah M. Raisch




                                 CERTIFICATE OF SERVICE

       I, Sarah Raisch, hereby certify that on October 21, 2024, I electronically filed the foregoing

with the clerk of the court by using the CM/ECF system, and that upon filing, such system will

serve a copy of the foregoing upon all counsel of record in this action.


                                                      s/ Sarah M. Raisch
                                                      Sarah M. Raisch




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